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                DEFENDANTS’ MOTION FOR RECONSIDERATION OF MOTION FOR
31                     DISCOVERY OF CONFIDENTIAL INFORMANT
     Case 3:18-cr-04683-GPC Document 282-1 Filed 09/20/21 PageID.3196 Page 2 of 12



 1                         IN THE UNITED STATES DISTRICT COURT
 2                       FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 3
 4   UNITED STATES OF AMERICA,                     Case No. 18-CR-4683-GPC
                                                   Honorable Gonzalo P. Curiel
 5
            Plaintiff,
 6                                                 MEMORANDUM OF POINTS AND
     v.                                            AUTHORITIES IN SUPPORT OF
 7
                                                   DEFENDANTS’ MOTION FOR
 8   JACOB BYCHAK, et al.,                         RECONSIDERATION OF MOTION
                                                   FOR DISCOVERY OF CONFIDENTIAL
 9
          Defendants.                              INFORMANT
10
                                                   [Declaration of Jessica C. Munk and
11
                                                   Proposed Order filed concurrently herewith]
12
                                                   Requesting In-Person Hearing
13
14                                                 Hearing Date: October 4, 2021
                                                   Hearing Time: 1:00 p.m.
15                                                 Department: Courtroom 2D
16
17
                          MEMORANDUM OF POINTS AND AUTHORITIES
18
     I.     INTRODUCTION
19
            On April 30, 2019, the Court held that Defendants were not entitled to discovery
20
     identifying the government’s confidential informant employed at the Spamhaus Project
21
     (“Spamhaus”), an international organization striving to police the sending of commercial
22
     email. But just like how much of the outside world has changed since the retrospectively
23
     halcyon days of April 2019, this case, and the circumstances surrounding the Spamhaus
24
     informant, have changed too. Since then, Defendants have obtained, via both voluntary
25
     and inadvertent government disclosure, evidence and information reflecting the Spamhaus
26
     informant’s actual name and his importance to Defendants’ anticipated motion to suppress
27
     confidential documents taken from Company A.
28
30                                        1
          DEFENDANTS’ MOTION FOR RECONSIDERATION OF MOTION FOR DISCOVERY OF
31                             CONFIDENTIAL INFORMANT
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 1         Since the Court’s April 30, 2019 order, the government has produced documents
 2 showing that the Spamhaus informant had an outsized role in the government’s
 3 investigation of Defendants, which included encouraging a former Company A insider to
 4 pass along purloined internal Company A documents to Spamhaus to ultimately pass
 5 along to the government. This is discussed more thoroughly in Defendants’ concurrently
 6 filed Motion to Compel Discovery Re: Spamhaus’ History of Assisting Governmental
 7 Investigations. The opportunity to interview this Spamhaus informant and/or call the
 8 informant as a witness regarding the potential illegal acquisition of Company A records
 9 would shed light on the extent of Spamhaus’ assistance to the government here and the
10 question of Spamhaus being a “state actor” for Fourth Amendment purposes, a question
11 critical to Defendants’ motion to suppress.
12         But to interview or call the informant as a witness, Defendants would need to know
13 the Spamhaus informant’s identity. Since the Court’s April 2019 order, Defendants have
14 learned of the Spamhaus informant’s name via an inadvertent disclosure caused by the
15 government’s failure to redact his name on two recently produced documents. Defendants
16 promptly alerted the government to its mistake and subsequently destroyed the documents
17 in question according to the government’s instructions, with all defense counsel agreeing
18 to not use that information in their trial preparation.
19         However, one cannot unring a bell, and it is patently unfair to preclude the defense
20 from utilizing this vital information that is pertinent to a key motion to suppress which, if
21 successful, could significantly restrict the government’s case. While Defendants are
22 sympathetic to the general doctrine of clawing back inadvertent discovery disclosures
23 (and the spirit of professional courtesy upon which the doctrine is grounded), the
24 balancing of the interests here decisively weigh in favor of Defendants’ using the
25 informant’s name; there is no comparison between Defendants’ liberty interests at stake
26 here against a non-existent threat of mischief against the informant.
27         Defendants thus request that the Court reconsider its previous April 30, 2019 ruling
28 and find that Defendants are entitled to utilize the Spamhaus informant’s identity given
30                                       2
         DEFENDANTS’ MOTION FOR RECONSIDERATION OF MOTION FOR DISCOVERY OF
31                            CONFIDENTIAL INFORMANT
     Case 3:18-cr-04683-GPC Document 282-1 Filed 09/20/21 PageID.3198 Page 4 of 12



 1 both the inadvertent disclosure of his name and the recent disclosure of evidence
 2 demonstrating his ever-growing importance to this case.
 3 II.     BACKGROUND
 4         On March 15, 2019, Defendants jointly moved to compel discovery relating to the
 5 Spamhaus confidential informant, requesting, inter alia, that the Court order the
 6 government to provide Defendants his full name. Dkt. No. 71. On April 30, 2019, the
 7 Court denied this motion. Dkt. No. 93.
 8         On February 12, 2021, almost two years later, Defendants received the
 9 government’s 26th document production. Declaration of Jessica C. Munk (“Munk Dec.”)
10 at ¶ 3. Included within that production were various emails between the Spamhaus
11 informant and FBI Special Agent Charles Chabalko between May 2014 and through and
12 after the filing of the indictment in 2018. Id. These emails reflect close cooperation
13 between the Spamhaus informant and the government during its investigation of
14 Defendants, including references to the Spamhaus informant having communications with
15 a Company A insider who was interested in cooperating against Company A. Id. Also
16 included within this production of emails were references to the Spamhaus informant
17 obtaining confidential internal documents from Company A via this Company A insider,
18 with the Spamhaus informant advising Agent Chabalko on September 27, 2017 that the
19 Company A insider had “sent internal emails implicating various people of doing various
20 things.” Id. at ¶ 4.
21         On July 30, 2021, Defendants moved to compel the government to identify those
22 documents it possessed that were derived from the Company A insider via Spamhaus.
23 Dkt. No. 257. On August 20, 2021, the Court granted this motion in part and ordered the
24 government to have the Spamhaus informant identify which documents he provided to the
25 government that came from the Company A informant. Dkt. No. 275.
26         On August 6, 2021, the government made its 39th document production. Munk
27 Dec. at ¶ 5. Included within that production were documents pertaining to the Spamhaus
28 informant. On one document the government failed to redact the informant’s first name,
30                                       3
         DEFENDANTS’ MOTION FOR RECONSIDERATION OF MOTION FOR DISCOVERY OF
31                            CONFIDENTIAL INFORMANT
     Case 3:18-cr-04683-GPC Document 282-1 Filed 09/20/21 PageID.3199 Page 5 of 12



 1 and on another document the government did not redact his last name, allowing
 2 Defendants to piece together the Spamhaus informant’s full name. Id. Shortly after this
 3 was discovered, defense counsel alerted government counsel to the omitted redactions. Id.
 4 Government counsel requested that the documents be destroyed, and that Defendants not
 5 use the informant’s actual name in their trial preparation, to which all defense counsel
 6 agreed. Id.
 7         Defendants intend to both file a motion to suppress the internal Company A
 8 documents that the Spamhaus informant forwarded to the government and request a
 9 Kastigar hearing to determine the extent of the government’s use of those documents and
10 the leads and information derived therefrom. This motion will require Defendants to
11 demonstrate that Spamhaus was a “state actor” when it interacted with the Company A
12 insider vis-à-vis his theft of the documents. Being able to interview the Spamhaus
13 informant, or subpoena the informant to compel disclosure of the communications with
14 the Company A insider is thus of critical importance, and Defendants cannot coordinate
15 these activities without this discovery and being able to utilize his full name. Munk Dec.
16 at ¶ 6. This is the impetus for the instant motion.
17         The government’s disclosure of evidence relating to the Spamhaus informant, and
18 his direction of the government’s investigation, including the production of numerous
19 documents to the government, were not produced to the defense until almost two years
20 after the Court’s April 30, 2019 order, and thus could not have been presented to the
21 Court for consideration at that time. Defendants accordingly now move the Court to
22 reconsider its previous denial of their motion to compel discovery relating to the
23 confidential informant on the ground that this new information represents a significant
24 change in the circumstances bearing on the merits of this initial motion.
25 III.    ARGUMENT
26         A.     Motion for Reconsideration Standard
27          “[C]ourts, including the Ninth Circuit, have held that motions for reconsideration
28 may be filed in criminal cases.” United States v. Carey, No. 11-cr-00671-BAS-1, 2021
30                                        4
          DEFENDANTS’ MOTION FOR RECONSIDERATION OF MOTION FOR DISCOVERY OF
31                             CONFIDENTIAL INFORMANT
     Case 3:18-cr-04683-GPC Document 282-1 Filed 09/20/21 PageID.3200 Page 6 of 12



 1 WL 1749900, at *3 (S.D. Cal. May 3, 2021) (citing United States v. Martin, 226 F.3d
 2 1042, 1047 n.7 (9th Cir. 2000)). Courts have typically analyzed such reconsideration
 3 motions “under the same standards applicable to civil motions for reconsideration,”
 4 finding reconsideration is appropriate if the district court is “(1) presented with newly
 5 discovered evidence; (2) committed clear error or the initial decision was manifestly
 6 unjust; or (3) if there is an intervening change in controlling law.” Id. (citing United States
 7 v. Gomez, No. 3:14-CR-3000-DMS, 2021 WL 347694, at *1 (S.D. Cal. Feb. 2, 2021)).
 8           B.     The New Discovery Disclosures, Both Voluntary and Inadvertent,
                    Warrant Reconsideration of the Court’s Previous Denial of Defendants’
 9
                    Motion to Compel Disclosure of the Informant’s Identity
10
11           At the time of the Court’s April 2019 decision, Defendants did not have the email

12 correspondence between the FBI and the Spamhaus informant evidencing his heavy
13 involvement in the government’s investigation and his potential role in the theft of
14 confidential Company A documents – these discovery productions were not provided to
15 the defense until earlier this year. Munk Dec. at ¶ 7. Simply put, in April 2019 Defendants
16 did not have the facts showing that the Spamhaus informant is a key component to
17 Defendants’ anticipated Fourth Amendment challenge. Id. Indeed, as only one example, it
18 was not until August of this year, after the Court ordered the government to have the
19 Spamhaus informant identify which documents he had received from the Company A
20 informant, that the government produced emails between the FBI and the Spamhaus
21 informant showing that the informant assisted the government in circumventing the
22 attorney-client privilege in those documents taken from Company A. Specifically, the
23 government produced a document “From Spamhaus” containing summaries of various
24 emails and explaining that “I found the C[] Y[] email documents, and to avoid any
25 potential attorney/client privilege issues (even though they were sent voluntarily by Y[]
26 and not by their attorney herself), I will only provide the headers of the emails as well as a
27 summary of the contents to provide some context.” Id. at ¶ 8. This alone warrants
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     1   This email raises 5th and 6th Amendment concerns as well.
30                                         5
           DEFENDANTS’ MOTION FOR RECONSIDERATION OF MOTION FOR DISCOVERY OF
31                              CONFIDENTIAL INFORMANT
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 1 reconsideration.
 2         However, it is the inadvertent disclosure of the informant’s name, which did not
 3 occur until very recently, that represents the largest sea-change since the Court’s April
 4 2019 order. Defendants now have the very answer they have been seeking for over two
 5 years but are constrained from using this information to aid their defense because of the
 6 inadvertent disclosure doctrine, codified by Federal Rule of Evidence (“FRE”) 502. Given
 7 this new discovery, reconsideration of Defendants’ prior motion to compel the
 8 informant’s identity is warranted.
 9         Furthermore, the inadvertent disclosure doctrine is not absolute. Courts in the Ninth
10 Circuit apply a five-factor test to determine whether an inadvertent disclosure constitutes
11 a waiver of any privilege/confidentiality of disclosed documents: “(1) the reasonableness
12 of the precautions to prevent inadvertent disclosure; (2) the time taken to rectify the error;
13 (3) scope of discovery; (4) the extent of disclosure; and (5) the overriding issue of
14 fairness.” City of San Diego v. Kinder Morgan Energy Partners, L.P., Case No. 07-1883-
15 MMA (WVG), 2012 WL 12884790, at *2 (S.D. Cal. May 1, 2012).
16         Additionally, the commentary to FRE 502 demonstrates that fairness is the
17 watchword when it comes to the rule and overrides other considerations if invocation of
18 the doctrine would unfairly disadvantage the opposing party. The 2007 Advisory
19 Committee Explanatory Notes to subparagraph (a) explain that there is subject matter
20 waiver as to the disclosed document if “fairness requires a further disclosure of related,
21 protected information, in order to prevent a selective and misleading presentation of
22 evidence to the disadvantage of the adversary.” And the Statement of Congressional Intent
23 regarding subparagraph (b) makes clear that enacting FRE 502 did not “foreclose notions
24 of fairness from continuing to inform application of the standard in all aspects as
25 appropriate in particular cases.”
26         Consideration of these factors leads to the conclusion that Defendants should be
27 allowed to utilize the Spamhaus informant’s identity in their trial preparation. As to the
28 five factors, it must be noted that while the government rectified the error quickly, it was
30                                       6
         DEFENDANTS’ MOTION FOR RECONSIDERATION OF MOTION FOR DISCOVERY OF
31                            CONFIDENTIAL INFORMANT
     Case 3:18-cr-04683-GPC Document 282-1 Filed 09/20/21 PageID.3202 Page 8 of 12



 1 Defendants who first alerted the government to the oversight; it is thus highly likely that
 2 the government would not have taken corrective measures so expeditiously if not for
 3 Defendants flagging the issue. And while the “scope of discovery” factor may weigh in
 4 the government’s favor because it has made over 40 separate document productions, the
 5 inadvertent disclosure comprised the entirety of the subject matter at issue – the name of
 6 the Spamhaus informant. This is not a situation where the inadvertent disclosure has given
 7 Defendants some inferential insight that would require production of reams of additional
 8 documents to put the disclosed documents into the proper context. Here, when the
 9 government failed to appropriately redact the Spamhaus informant’s name, they disclosed
10 the entirety of that category of information – the whole kit and caboodle with nothing
11 further needed. The “extent of disclosure” factor thus weighs heavily in Defendants’
12 favor.
13          Lastly, the fairness factor weighs heavily toward Defendants. As noted, it was
14 Defendants who alerted the government to its error, out of respect for the inadvertent
15 disclosure doctrine and as a professional courtesy. Moreover, there is clearly a disparity
16 between the competing interests involved. The Spamhaus informant has become a
17 cynosure of this case for the defense, and proper exploration of a potential Fourth
18 Amendment challenge requires them to have access to the informant to learn both his
19 history of cooperating with the government and the specific role the informant played in
20 the theft of internal Company A documents which the government now possesses.
21 Ultimately at stake in this case is Defendants’ very liberty. Contrast this with the
22 government’s interest in maintaining the informant’s identity secret, which is negligible –
23 and apparently an afterthought given the government’s careless redaction mistakes.
24          Moreover, while a confidential informant’s identity is generally afforded protection
25 out of concern that disclosure may place the informant and/or his family at personal
26 physical risk, this is not a case where the defendants and their counsel pose any danger to
27 the informant whatsoever. This case does not involve or relate to a violent felony or gang
28 activity; rather it involves the utilization of allegedly stolen IP netblocks to send
30                                       7
         DEFENDANTS’ MOTION FOR RECONSIDERATION OF MOTION FOR DISCOVERY OF
31                            CONFIDENTIAL INFORMANT
     Case 3:18-cr-04683-GPC Document 282-1 Filed 09/20/21 PageID.3203 Page 9 of 12



 1 commercial email, about as milquetoast a crime imaginable. The alleged unlawful activity
 2 occurred several years ago. And, Defendants have (likely) never personally met the
 3 Spamhaus informant who likely resides geographically distant from them. There is not a
 4 shred of evidence that Defendants have, would, or even could pose any threat to the
 5 informant by knowing his identity. Moreover, if the Court felt that the Defendants posed
 6 any risk to the informant, disclosure of the name could be on an attorneys’ eyes only
 7 basis.
 8          In summary, it is unfair to preclude Defendants from using vital information they
 9 already possess to aid in their defense against criminal charges. The Court should thus
10 reconsider its previous April 30, 2019 order and grant Defendants’ motion to compel
11 discovery relating to the Spamhaus informant’s identity.
12 IV.      CONCLUSION
13          Based on the foregoing, Defendants respectfully request that the Court reconsider
14 its denial of their joint Motion to Compel Discovery Relating to Confidential Informant,
15 Dkt. No. 93, and compel the government to provide discovery relating to the Spamhaus
16 informant’s identity.
17                                          Respectfully submitted:
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         DEFENDANTS’ MOTION FOR RECONSIDERATION OF MOTION FOR DISCOVERY OF
31                            CONFIDENTIAL INFORMANT
     Case 3:18-cr-04683-GPC Document 282-1 Filed 09/20/21 PageID.3204 Page 10 of 12



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          DEFENDANTS’ MOTION FOR RECONSIDERATION OF MOTION FOR DISCOVERY OF
31                             CONFIDENTIAL INFORMANT
     Case 3:18-cr-04683-GPC Document 282-1 Filed 09/20/21 PageID.3205 Page 11 of 12



 1 CERTIFICATE OF AUTHORIZATION TO SIGN ELECTRONIC SIGNATURE
 2          Pursuant to section 2(f)(4) of the Electronic Case Filing Administrative Policies and
 3 Procedures of the United States District Court for the Southern District of California, I
 4 certify that the content of this document is acceptable to counsel for the Defendants and
 5 that I have obtained authorization from Randy K. Jones, Whitney Z. Bernstein, and Nicole
 6 Rodriguez Van Dyk.
 7
 8 Dated: September 20, 2021                       By: s/Jessica C. Munk
 9                                                     Jessica C. Munk

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          DEFENDANTS’ MOTION FOR RECONSIDERATION OF MOTION FOR DISCOVERY OF
31                             CONFIDENTIAL INFORMANT
     Case 3:18-cr-04683-GPC Document 282-1 Filed 09/20/21 PageID.3206 Page 12 of 12



 1                                CERTIFICATE OF SERVICE
 2          Counsel for Defendant certifies that the foregoing pleading has been electronically
 3 served on the following parties by virtue of their registration with the CM/ECF system:
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14
        I certify under penalty of perjury under the laws of the United States of
15 America that the foregoing is true and correct.
16          Executed on September 20, 2021, at San Juan Capistrano, California.
17
                                                         s/Jessica C. Munk
18                                                       Jessica C. Munk
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31                                  CERTIFICATE OF SERVICE
